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, |) Todd M. Friedman (SBN 216752)
Nicholas J. Bontrager (SBN 252114)
> ||LAW OFFICES OF TODD M. FRIEDMAN, P.C.
369 S. Doheny Dr., #415
3 |) Beverly Hills, CA 90211
4 Phone: 877-206-4741
Fax: 866-633-0228
5 || th&iedman@attorneysforconsumers.com
nbontrager@attomeysforconsumers.com
6 | ; RENTRAL DISTRICT OF CALIFORNIA”
7 |)L- Paul Mankin, IV (SBN 2.64038) DEPUTY
Law Offices of L. Paul Mankin, IV
g || 8730 Wilshire Blvd, Suite 310
: Beverly Hills, CA 90211
9 || Phone: 800-219-3577
pmankin@paulmankin.com
1]
2 Attorneys for Plaintiff
19 UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
14 WESTERN B SION _
PSBV14 -00960-—Mwr
15 || RLORENCIO PACLEB, INDIVIDUALLY ) Case No.
ig || AND ON BEHALF OF ALL OTHERS ) . (i px.
SIMILARLY SITUATED, ) CLASS ACTION fo
17 )
53 Plaintiff, } COMPLAINT FOR VIOLATIONS OF:
)
19 VS. ) 1. NEGLIGENT VIOLATIONS OF
) THE TELEPHONE CONSUMER
20 || ONE ON ONE MARKETING, LLC, AND __ ) ROT ET SBO ACT [47 USC.
. |, DOES L THROUGH 10, INCLUSIVE, AND ) Se EOE OLATIONS OF
EACH OF THEM, ) THE TELEPHONE CONSUMER.
22 ) PROTECTION ACT [47 U.S.C.
Defendants. ) §227 ET SEQ.]
23 )
5A ) DEMAND FOR JURY TRIAL
)
25 )
26 CLEBK, Ue STRICT COURT )
27 FEB 0. 2014
Hf
28 OF CALIFORNIA
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CLASS ACTION COMPLAINT
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Plaintiff, FLORENCIO PACLEB (“Plaintiff”), on behalf. of himself and all others |
similarly situated, alleges the following upon information and belief based upon personal
knowledge:

NATURE OF THE CASE

1. Plaintiff brings this action for himself and others similarly situated seeking
damages and any other available legal or equitable remedies.resulting from the illegal actions
of ONE ON ONE MARKETING, LLC, (“Defendant”), in negligently, knowingly, and/or
willfully contacting Plaintiff on Plaintiff's cellular telephone in violation of the Telephone
Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff s
privacy. . |

| JURISDICTION & VENUE

2. Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a resident
of Valley Village, California, Los Angeles county, seeks relief on behalf of a Class, which will
result in at least one class member belonging to a different state than that of Defendant, a
company with its principal place of business and State of Incorporation in Dlinois state.
Plaintiff also seeks up to $1,500.00 in damages for each call in violation of the TCPA, which,
when aggregated among a proposed class in the thousands, exceeds the $5,000,000.00
threshold for federal court jurisdiction. Therefore, both diversity jurisdiction and the damages
threshold under the Class, Action Faimess Act of 2005 (“CAFA”) are present, and this Court
has jurisdiction.

3. | Venue is proper in the United States District Court for the Central District of
California pursuant to 18 U.S.C, 1391(2) and 18 US,C. § 1441 (a) because Defendant does
business within the state of California and the county of Los Angeles.

PARTIES

4, Plaintiff, FLORENCIO PACLEB (‘Plaintiff’), is a natural person residing in

Califomia and is a “person” as defined by 47 US.C, $ 193 (10).

 

 

 

 

 

 

 

5. ° Defendant, ONE ON ONE MARKETING, LLC, (“Defendant”), is a “person” as
defined by 47 U.S.C. § 153 (10).

 

CLASS ACTION COMPLAINT
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Case 2:14-cv-00960-MWF-MAN Document1 Filed 02/07/14 Page 3 of 14 Page ID #:9

6, The above named Defendant, and its subsidiaries and agents, are collectively
referred to as “Defendants.” The true names and capacities of the Defendants sued herein as
DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who
therefore sues such Defendants by fictitious namies. Each of the Defendants designated herein
as a DOE is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of
Court to amend the Complaint to reflect the true names and capacities of the DOE Defendants
when such identities become known.

7: Plaintiff is informed and believes that at all relevant times, each and every
Defendant was acting as an agent and/or employee of each of the other Defendants and was
acting within the course and scope of said agency and/or employment witb the full knowledge
and consent of each of the other Defendants. Plaintiff is informed and believes that each of the
acts and/or omissions complained of herein was made known to, and ratified by, each of the
other Defendants. .

FACTUAL ALLEGATIONS

8, Around January 9, 2014, Plaintiff began receiving numerous automated
telephone calls. | |

9. Defendant contacted Plaintiff using the automated telephone messages at least 5
times in one day.

10. Defendant used an “automatic telephone dialing system”, as defined by #7
U.S.C. § 227(a) (1) to place its daily calls to Plaintiff seeking to collect the debt allegedly owed

by Plaintiff,

ll. Defendant’s calls constituted calls that were not for emergency purposes as
defined by 47 U.S.C. § 227(b) (1) (A).

12. Defendant’s calls were placed to telephone number assigned to a cellular

télephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 USC.
227(b)(1).
13. Defendant never received Plaintiff's “prior express consent” to receive calls

using an automatic telephone dialing system or an artificial or prerecorded voice on his cellular

 

CLASS ACTION COMPLAINT:
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Case 2:14-cv-00960-MWF-MAN Document1 Filed 02/07/14 Page 4o0f14 Page|

telephone pursuant to 47 U.S.C. § 227(b) (1) (A).
. CLASS ALLEGATIONS
14, Plaintiff brings this action on behalf of himself and all others similarly situated,

as a member of the proposed class (hereafter “The Class”) defined as follows:

’ All persons within the United States who received any telephone call/s from
Defendant or its agent/s and/or employee/s to said person’s cellular telephone
made through the use of any automatic telephone dialing system or with an
artificial or prerecorded voice within the four years prior to the filling of the
Complaint.

15. Plaintiff represents, and is a member of, The Class, consisting of All persons
within the United States who received any collection telephone call from Defendant to said
person’s cellular telephone made through the use of any automatic telephone dialing system or
an artificial or prerecorded voice and such person had not previously not provided their cellular
telephone number to Defendant within the four years prior to the filing of this Complaint.

16. Defendant, its employees and agents are excluded from The Class. Plaintiff
does not know the number of members in The Class, but believes the Class members number in
the thousands, if not more. Thus, this matter should be certified as a Class Action to assist in
the expeditious litigation of the matter. —

17. The Class is so numerous that the individual joinder of all of its members is
impractical. While the exact number and identities of The Class members are unknown to
Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintit? is
informéd and belieyes and thereon alleges that The Class includes thousands of members.
Plaintiff alleges that The Class members may be ascertained by the records maintained by
Defendant. 7

18. Plaintiff and members of The Class were harmed by the acts of Defendant in at
least the following ways: Defendant illegally contacted Plaintiff and Class members via their
cellular telephones thereby causing Plaintiff and Class members to incur certain charges or
reduced telephone time for which Plaintiff and Class members had previously paid by having to

retrieve or administer messages left by Defendant during those illegal calls, and inyading the

 

CLASS ACTION COMPLAINT
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privacy of said Plaintiff and Class members,

19. Common questions of fact and law exist as to all members of The Class which
predominate over any questions affecting only individual members of The Class. These

common legal and factual questions, which do not vary between Class members, and which

may be determined without reference to the individual circumstances of any Class members,

include, but are not limited to, the following:

a. Whether, within the four years prior to the filing of this. Complaint,
| Defendant made any collection call (other than a call made for
emergency purposes or made with the prior express consent of the called
party) to a Class member using any automatic telephone dialing system
or an artificial or prerecorded voice to any telephone number assigned to

a cellular telephone service; |
b. Whether Plaintiff and the Class members were damages thereby, and the

extent of damages for such violation; and

C. Whether Defendant should be enjoined from engaging in such conduct in
the future.
20. As a person that received numerous collection calls from Defendant using an

automatic telephone dialing system or an artificial or prerecorded voice, without Plaintiffs
prior express consent, Plaintiff is asserting claims that are typical of The Class.

21, Plaintiff will fairly and adequately protect the interests of the members of The
Class. Plaintiff has retained attorneys experienced in the prosecution of class actions.

22. A class action is superior to other available methods of fair and efficient
adjudication of the controversy, since individual litigation of the claims of all Class members is
impracticable. Even if every Class member could afford individual litigation, the court system
could not, It would be unduly burdensome to the courts in which individual litigation of
numerous issues would proceed. Individualized litigation would also present the potential for
varying, inconsistent, or contradictory judgments and would magnify the delay and expense to

all parties and to the court system resulting from multiple trials of the same complex factual

 

CLASS ACTION COMPLAINT

 

 

 

 

 

 

 

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issues. By contrast, the conduct of this action as a class action presents fewer management
difficulties, conserves the resources of the parties and of the court system, and protects the
rights of each Class member.

23, The prosecution of separate actions by individual Class members would create a
risk of adjudications with respect to them that would, as a practical matter, be dispositive of the
interests of the this Class members not parties to such adjudications or that would substantially
impair or impede the ability of such non-party Class members to protect their interests. a

24, Defendant has acted or refused to act in respects generally applicable to The
Class, thereby making appropriate final and injunctive relief with regard to the members of the
California Class as a whole.

FIRST CAUSE OF ACTION
Negligent Violations of the Telephone Consumer Protection Act
47 U.S.C. §227 et seq.

25. Plaintiff repeats and incorporates by reference into this cause of action the
allegations set forth above at Paragraphs 1-33. ,

. 26. The foregoing acts and omissions of Defendant constitute numerous and
multiple negligent violations of the TCPA, including but not limited to each and every one of
the above cited provisions of 47 U.S.C. § 227 et seq.

27. ‘As a result of Defendant’s negligent violations of 47 U.S.C. $ 227 et seq.,
Plaintiff and the Class Members are entitled an award of $500.00 in statutory damages, for
each and every violation, pursuant to 47 U.S.C. § 227(b) (3) (B).

28, Plaintiff and the Class members are also entitled to and seek injunctive relief
prohibiting such conduct in the future. |

. SECOND CAUSE OF ACTION
Knowing and/or Willful Violations of the Telephone Consumer Protection Act
47 U.S.C. §227 et seq.
(Against All Defendants)

29, Plaintiff repeats and incorporates. by reference into this cause of action the

 

CLASS ACTION COMPLAINT
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allegations set forth above at Paragraphs 1-37. ;

30. The foregoing acts and omissions of Defendant constitute numerous and
multiple knowing and/or willful violations of the TCPA, including but not limited to each and
every one of the above cited provisions of 47 U.S.C, § 227 et seq. ,

31, As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
et seq., Plaintiff and the Class members are entitled an award of $1,500.00 in statutory
damages, for each and every violation, pursuant to 47 U.S.C, § 227(b)(3)(B) and 47 US.C. $
227(b) (3)(C). .

32, Plaintiff and the Class members are also entitled to and seek injunctive relief
prohibiting such conduct in the future. .

PRAYER FOR RELIEF
W HEREFORE, Plaintiff requests judgment against Defendant for the following:
FIRST CAUSE OF ACTION
Negligent Violations of the Telephone Cousumer Protection Act
47 U-S.C. §227 et seq. |
* As a result of Defendant’s negligent violations of 47 USC. § 22 7(b) (1),
Plaintiff and the Class members are entitled to and request $500 in statutory
damages, for each and every violation, pursuant to #7 U.S.C. § 22 7(b) (3)(B).
+ Any and all other relief that the Court deems just and proper.
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CLASS ACTION COMPLAINT
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SECOND CAUSE OF ACTION
Knowing and/or Willful Violations of the Telephone. Consumer Protection Act
| 47 U.S.C. §227 et seq.

» Ag a result of Defendant’s willful and/or knowing violations of 47 U.S.C. $
227(b) (1 '), Plaintiff and the Class members are entitled to and request treble
damages, as provided by statute, up to $1,500, for each and every violation,
pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

« Any and all other relief that the Court deems just and proper. .*

- Respectfully Submitted this 30" Day of January,

    

LAW OFFICES/OF TODD W/FRIEDMAN, P.C.

By:

 

ToddM. Friedman, Esq.

Law Offices of Todd M. Friedman
Attorneys for Plaintiff .
tfriedman@attomeysforconsumers.com.

 

 

 

 

 

 

 

 

 

 

 

CLASS ACTION COMPLAINT
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES

This case has been assigned to District Judge Michael W. Fitzgerald and the assigned

Magistrate Judge is Margaret A. Nagle

The case number on all documents filed with the Court should read as follows:
2:14-CV-00960-MWE (MANx)

Pursuant to General Order 05-07 of the United States District Court for the Central District of

California, the Magistrate Judge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge.

Clerk, U. S. District Court

 

 

 

 

 

February 7, 2014 By MDAVIS
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is

filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

 
 
 
 

Western Division [-] Southern Division {-] Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES
 

on oF Case 2:14-cv-00960-MWF-MAN Document 1 Filed 02/07/14 Page 10o0f14 Page ID #:16
/

AO 440 (Rev. 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the

 

 

Central District of California

FLORENCIO PACLEB, Individually and on behalf of
all others similarly situated

 

 

 

Plaintiff(s)

Vv.

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ONE ON ONE MARKETING, LLC, AND DOES 1
THROUGH 10, INCLUSIVE, AND EACH OF THEM

 

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ONE ON ONE MARKETING, LLC, AND DOES 1 THROUGH 10, INCLUSIVE, AND
EACH OF THEM

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: LAW OFFICES OF TODD M. FRIEDMAN, P.C.

369 S. Doheny Dr., #415
Beverly Hills, CA 90211

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court. .

CLERK OF COURT

Date: FEB ~/ 2014 Mo {

 
 

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AO 440 (Rev, 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

 

This summons for (name of individual and title, if any)

was received by me on (date)

 

CI personally served:‘the summons on the individual at (place)

 

on (date) ; or

 

 

C1 | left the summons at the individual’s residence or usual place of abode with (name)

ee

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

—

C1 I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

OE

 

 

on (date) ; or
ee
© Lreturned the summons unexecuted because ‘ ; or
O Other (specif):
My fees are 5 for travel and $ for services, for a total of $ 0.00

 

 

—

1 declare under penalty of perjury that this information is true.

Date:

—_—

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 2:14-cv-00960-MWF-MAN Document1 Filed 02/07/14 Page 12 0f14 Page ID #:18

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. (a) PLAINTIFFS { Check box If you are representing yourself [_] ) DEFENDANTS ( Check box If you are representing yourself CL) )
FLORENCIO.PACLEB, INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY ONE ON ONE MARKETING, LLC, AND DOES 1 THROUGH 10, INCLUSIVE, AND EACH OF
SITUATED THEM

 

 

 

 

 

 

County of Residence of First Listed Defendant —-
{IN U,S, PLAINTIFF CASES ONLY)

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same Information,

(b) County of Residence of First Listed Plaintiff Los Angeles
(EXCEPT IN U,S. PLAINTIFF CASES}

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same Information.

Todd M. Friedman {SBN 21 6752)

LAW OFFICES OF TODD M. FRIEDMAN, P.C.

369 S, Doheny Dr., #415

Beverly Hills, CA 90211

Il. BASIS OF JURISDICTION (Place an Xin one box only.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Il}. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X tn one box for plalntiff and one for defendant}
PIF DEF

 

PTF DEF
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1, U.S, Government 3, Federal Question (U.S. Citizen of This State 1 f1 Incorporated or Principal Place 4
u Plaintiff EA Government Not a Party} of Business In thls State
. Citizen ofAnotherState []2 [)2 Incorporated and Principal Place fs 5
US.G (4. tty (indi Citizenshi bject of of Business In Another State

2. U.S, Government Diversity (Indicate Citizenship {Citizen or Subject ofa oreign Natt 6
Ly} Defendant of Parties in Item II!) Foreign Country O13 (3 Forelgn Nation Oros
{V. ORIGIN (Place an X In one box only.) an

1. Original 2. Removed from 3, Remanded from 4, Relnstated or 5, Transferred from Another ’ District
Proceeding CU) State Court O Appellate Court 0 Reapened O District (Spectfy) CJ Lan

 

 

 

V. REQUESTED IN COMPLAINT: JURY DEMAND;

CLASS ACTION under F.R.Cv.P.23:  [X]Y

V1. CAUSE OF ACTION (Cite the U.S, Civil Statute under which you are filing and write a brlef statement o

es [_]No

47 U.S.C, § 227- TELEPHONE CONSUMER PROTECTION ACT

———
Yes [_] No (Check "Yes" only if demanded in complaint.)

MONEY DEMANDED IN COMPLAINT: $ $5,000,001

f cause, Do not cite jurisdictional statutes unless diversity.)

 

 

 

VIL NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

  
   
   
 

 

 

 

 

 

 

 

 

 

 

     

[ OTHER STATUTES CONTRACT ‘| REAL PROPERTY CONT." IMMIGRATION: | PRISONER PETITIONS. | PROPERTY RIGHTS ~ ‘|
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State Statutes CT Bectment persons sil L] 448 Education TF Security act

 

 

 

 

 

 

 

 

 

 

 

FOR OFFICE USE ONLY: Case Number

 

 

V14-00960

 

 

CV-71 (11/13)

CIVIL COVER SHEET

Page ] of 3.
 

~ Case 2:14-cv-00960-MWF-MAN Document 1 Filed 02/07/14 Page 130f14 Page ID #:19

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

Vill VENUE: Your answers to the questions below wil! determine the division of the Court to which this case will most Iikely be Inldally assigned, This InIttal assignment
Is subject to change, In accordance with the Court's General Orders, upon review by the Court of your Corplalnt or Notice of Removal,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Question A: Was this case removed from STATE CASE WAS PENDING IN THE COUNTY OF; | "INITIAL DIVISION IN CACD 1S:
State court? : . . :
OJ Yes No L} Los Angeles Western
If'no," go to Question B. If"yes," checkthe |[7] Ventura, Santa Barbara, or San Luls ObIspo Western
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Question D, below, and skip to Section IX,
, p C1 Riverside or San Bernardino Eastern
Question B: Is the United States, or one of ~ If the United States, ar one of Its agencies or employees, Is a party, Is its to,
its agencles or employees, a party to this _ _ an
action? . Lo INTIAL -
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a : ‘ : eo . . CACD IS: ”
[] Yes Ne Then check the box below for the county In Then check the box below for the county In ‘
. which the majority of DEFENDANTS reside, -.|, “which the majority of PLAINTIFFS reside. .
If"no, "go to Question C. Ifyes," check the ( Los Angeles [] Los Angeles Western,
box to the right that applles, enter the Ventura, Santa Barbara, or San Luls Ventura, Santa Barbara, or San Luls
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CL Other CO Other Western

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

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plaintive, defendants, and fats? Los Angeles] Ventura, Santa Barbara, or.) :Q _. Riverside or San”
(Make only one selectlon per row) County San Luls Oblspo Colintles |... “Bemardine Counties: *,|
Indicate the location In which a

majority of plaintiffs reside: oO (] ‘os

Indicate the lacatlon In which a

majority of defendants reside: Cc] OC J O

Indicate the location in which a

majority of claims arose: CO L] L)

 

C 2 of more answers In Column C

C1. ts elther of the following true? If so, check the one that applles:

[_] only 1 answer In Column C and no answers in Column 2

Your case will Jnitlally be assigned to the
SOUTHERN DIVISION.
_ Enter "Southern" In response to Question D, below,

If none applies, answer question C2 to the ight —-

 

[_] 2 or more answers In Column D

C.2, Is elther of the followlng true? Ifso, check the one that applies:

[] only 1 answer In Column D and no answers In Calumn C

Your case will Initlally be assigned to the
EASTERN OIVI

Enter "Eastern" in response to Question D, below,

If none applles, go to the box below,

 

Your case will initlally be assigned to the
WESTERN DIVISION.
Enter "Westem" In response to Question D below,

 

€

Question D: Initlal Dlviston?

 

 

 

Enter the initial division determined by Question A, B, or Cabove: m- |

INITIAL DIVISION IN CACD

Western

 

Cv-71 (11/13)

 

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~ Case 2:14-cv-00960-MWF-MAN
Document 1 Filed 02/07/14 Page 14 of 14 Page ID #:20
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET ©
IX(a). IDENTICAL CASES: tas this action been previously filed in this court and dismissed, remanded or closed? NO [| Yes
If yes, Ist case number(s}: .

 

 

 

_IX(b). RELATED CASES: Have any cases been previously fled in this court that are related to the present case? NO {_] Yes

if yes, list case number(s):

 

_
Civil cases are deemed related Ifa previously filed case and the present case?
(Check all boxes that apply) [_] A. Arise from the same or closely related transactions, happenings, or events; or
[7] 8. Call for determination of the same or substantially reese pester pasion of law and factyor -

LJ C. For other reasans would entajlsu stantial duplication) of labor If heard by different Judges; or

 

[_] 0. Involve the same patent, (ademark or copyright.2nd one of the factors Identifled above In a, b or calso fs present.

X. SIGNATURE OF ATTORNEY /[ | / .
(OR SELF-REPRESENTED LITIGANT): DATE: January 30, 2014
Notice to Counsel/Partles: The CV-71 (55-44) Clyll Cover Sheet and thé information contained herein nelther replace nor supplement the fillng and service of pleadings or

other papers as required by law. This form, approved by the Judicial Conference of the United States In September 1974, Is required pursuant to Local Rule 3-1 Is nat filed
but Is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet, (For more detailed Instructions, see separate instructions sheet},

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Key to Statistical codes relating to Socal Security Cases:

Nature of Sult Code Abbreviation Substantive Statement of Cause of Action
All clatms for health Insurance benefits (Medicare) under Title 18, Part A, af the Social Security Act, as amended, Also,
861 HIA include claims by hospitals, skilled nursing facilities, etc, for certification as providers of services under the program,
(42 ULS,C. 1935FF(b))
B62 BL Allsialms for Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969, (30 USC,
9
‘ All clams filed by insured workers for disability Insurance benefits under Title 2 of the Social Security Act, as amended; plus
863 DIWC all claims filed for child's Insurance benefits based’on disability. (42U3.C 405 (g})° Hy ACK iP
All clalms filed far widows or widowers Insurance benefits based on disability under Title 2 of the Soctal Security Act, as
863 DIwW amended. (42 U.S.C. 405 (g)) iy
B64 . SSID All claims for supplemental security Income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.
865 RSI All clalms for retlrement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended,

(42 U,S.C. 405 (g})

 

 

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